Case 4:17-cv-00454-GKF-JFJ   Document 159-8 Filed in USDC ND/OK on 10/12/18   Page 1
                                       of 6




                              Exhibit G
Case 4:17-cv-00454-GKF-JFJ              Document 159-8 Filed in USDC ND/OK on 10/12/18                 Page 2
                                                  of 6



                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                        )
                                                            )
                                                            )
                   Plaintiff,                               )
                                                            )
 v.                                                         )   Case No. 4:17-cv-00454-GKF-JFJ
                                                            )
 1) CASTLE HILL STUDIOS LLC                                 )
    (d/b/a CASTLE HILL GAMING);                             )
 2) CASTLE HILL HOLDING LLC                                 )
    (d/b/a CASTLE HILL GAMING); and                         )
 3) IRONWORKS DEVELOPMENT, LLC                              )
    (d/b/a CASTLE HILL GAMING)                              )
                                                            )
                   Defendants.                              )

                       VIDEO GAMING TECHNOLOGIES, INC.’S SIXTH SET
                           OF INTERROGATORIES TO DEFENDANTS

             Pursuant to Federal Rules of Civil Procedure 26 and 33, Plaintiff Video Gaming

      Technologies, Inc. (“VGT”) serves the following interrogatories on Defendants Castle Hill

      Studios LLC, Castle Hill Holdings LLC, and Ironworks Development LLC. VGT requests that

      Defendants provide responses to these interrogatories within the time prescribed by the Federal

      Rules of Civil Procedure and the Local Rules of this Court.

                                                DEFINITIONS

             Unless the terms of a request specifically indicate otherwise, the following definitions are

      applicable throughout these requests and are incorporated into each request.

             1.      “Castle Hill Gaming,” “CHG,” “You,” “Your,” and “Yours” mean Defendants

      Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks Development LLC; their

      parents, successors, predecessors, subsidiaries, affiliates and assignees thereof; their present and

      former officers, directors, agents, representatives, consultants, employees, and attorneys; and any


                                                        1
Case 4:17-cv-00454-GKF-JFJ           Document 159-8 Filed in USDC ND/OK on 10/12/18                   Page 3
                                               of 6



   other Persons subject to the direction and control of, or acting on behalf of, any of the foregoing,

   both past and present.

          2.      “CHG Games” refers to all of CHG’s Class II gaming machines, as well as

   Quack-Tastic! and Soapbox Sally.

          3.      “VGT” means Plaintiff Video Gaming Technologies, Inc.; its parents, successors,

   predecessors, subsidiaries, affiliates and assignees thereof; their present and former officers,

   directors, agents, representatives, consultants, employees and attorneys; and any other Persons

   subject to the direction and control of, or acting on behalf of, any of the foregoing, both past and

   present.

          4.      As used herein, the singular includes the plural, and the plural includes the

   singular, except where context does not permit. The terms “and” and “or” are to be construed

   conjunctively or disjunctively as necessary to make the request inclusive rather than exclusive.

   The term “including” and its variants mean “including without limitation.” The use of any verb

   in any tense shall be construed as the use of the verb in all other tenses.

                                            INSTRUCTIONS

          1.      In responding to these interrogatories, CHG shall furnish all information available

   to CHG, including information in the possession or control of CHG’s attorneys, experts,

   advisers, agents, or any other Person over which CHG has control.

          2.      If CHG claims any privilege, whether based on statute or otherwise, as a ground

   for not answering an interrogatory or any part thereof, CHG shall set forth every fact on which

   the privilege is based, including sufficient facts to permit the Court to make a determination as to

   whether the claim of privilege is valid, and CHG shall respond to the parts of the interrogatory to

   which CHG does not object.



                                                     2
Case 4:17-cv-00454-GKF-JFJ          Document 159-8 Filed in USDC ND/OK on 10/12/18                   Page 4
                                              of 6



          3.      When, after a reasonable and thorough investigation using due diligence, You are

   unable to answer an interrogatory or any part thereof because of a lack of information available

   to You, You shall specify the type of information that You claim is not available, the reason the

   information is not available to You, and what You have done to locate such information. In

   addition, specify what knowledge or belief You have concerning the unanswered portion of the

   interrogatory, set forth the facts on which such knowledge or belief is based, and indicate who

   has or is likely to have the information that You claim is not available.

          4.      If any interrogatory is answered by reference to Documents pursuant to Federal

   Rule of Civil Procedure 33(d), You shall identify, by document production number or similar

   means, the Documents wherein the answer is located and unless apparent on the face of the

   Document, state where within the Document the answer can be found. The Documents must be

   identified in sufficient detail to permit VGT to ascertain the answer as readily as CHG.

          5.      If You object to any interrogatory, You shall state the reason for Your objection

   and answer all parts of the interrogatory to which Your objection does not apply.

          6.      If in answering any interrogatory, You claim ambiguity in either the interrogatory

   or a definition or instruction applicable thereto, You shall identify in Your response the language

   You consider ambiguous, and state the interpretation You are using in responding.

          7.      These interrogatories are continuing in nature, and to the extent that Your

   responses may be enlarged, diminished, or otherwise modified by information or Documents

   located, identified, or acquired subsequent to the production of Your initial responses hereto,

   You shall, to the extent set forth in Federal Rule of Civil Procedure 26(e), promptly produce

   supplemental responses in writing reflecting such changes.

          8.      VGT reserves the right to propound additional interrogatories.



                                                    3
Case 4:17-cv-00454-GKF-JFJ          Document 159-8 Filed in USDC ND/OK on 10/12/18                  Page 5
                                              of 6



                                        INTERROGATORIES

   INTERROGATORY NO. 23:

          For each of the CHG Games, identify, separately for each cabinet type used with the CHG

   Game (e.g., Retro 3-reel mechanical, Atlas 3-reel video) and for each quarter since CHG began

   operating to the present, the number of units sold, leased or licensed in the United States; the

   revenue received by CHG from such sales, leases, and licenses; all direct, indirect, variable, fixed,

   and overhead costs associated with each of the CHG Games that was incurred by CHG; and all

   gross, operating, pre-tax and net profits realized by CHG, directly or indirectly, for each of the

   CHG Games.




                                                    4
Case 4:17-cv-00454-GKF-JFJ   Document 159-8 Filed in USDC ND/OK on 10/12/18         Page 6
                                       of 6




                                      Respectfully submitted,


   May 25, 2018                       /s/ Gary M. Rubman
                                      Graydon Dean Luthey, Jr., OBA No. 5568
                                      GABLE GOTWALS
                                      1100 ONEOK Plaza
                                      100 West Fifth Street
                                      Tulsa, OK 74103-4217
                                      Telephone: (918) 595-4821
                                      Facsimile: (918) 595-4990
                                      dluthey@gablelaw.com

                                      Gary M. Rubman
                                      Peter A. Swanson
                                      Michael S. Sawyer
                                      Rebecca B. Dalton
                                      COVINGTON & BURLING LLP
                                      One CityCenter
                                      850 Tenth Street, NW
                                      Washington, D.C. 20001-4956
                                      Telephone: (202) 662-6000
                                      Facsimile: (202) 778-5465
                                      grubman@cov.com
                                      pswanson@cov.com
                                      msawyer@cov.com
                                      rdalton@cov.com
                                        (admitted pro hac vice)

                                      Neil K. Roman
                                      COVINGTON & BURLING LLP
                                      The New York Times Building
                                      620 Eighth Avenue
                                      New York, NY 10018-1405
                                      Telephone: (212) 841-1221
                                      Facsimile: (212) 841-1010
                                      nroman@cov.com
                                        (admitted pro hac vice)

                                      Counsel for Video Gaming Technologies, Inc.




                                         5
